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                           EXHIBIT
                                   (cE))
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                           P R o c E s s F o R R E c E R T T F T c A T T ooNF A P R o G N o s r s o F S 6 M o N T H S

                          l ' r 7 s , r n \ l ) ^ L r l .rl e ' / . r , D . t r e n tw r t h l D t e a m I h r s r e v r e ws h o u l d I n c l u d ea d s c L r 5 s r oonf t h e p d t r e n is
                                                   , I      rrrrl l,iy, h.'\.,.         .tl \r,rtIs        .ln.l the       .lo.(rmenldlL.n          tO    rlrl\lOr t        l,r.   d,rCuss,Oo          that     1..r,rr th.

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                          lir I            IIJI(J]

                                           S   5   d()NrH
                                                         P R O V I T ) E DB Y T H I

                                                                  PRoGNoslsf
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                                               if YES                                                                                                                                                 if No

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                                                                                                                                             .       Visit the patient and document the visit
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                                                                                                                         Tfrt TNFORMATToN
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                                                                                                                         {AND ot BrR HtHBIRS()f r] rt SrNroR M N^GIMtNT TtaM)



                                                                                                                                 6   MONTH       P R O G T ] O S I SC O N ' I R M T D '




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                                                                                                                                                       if YES

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                                                                                        TH€ pAlENr's cLrNrcALcouRsr ANo rHr RtsuLTsof rHt pArltNI vlslr sHoutD Bt
                                                                                         REvrrwEDwrilr DR. lR WrL[AHs on Dn. B. Krruzsnurrra.


                                                                                                 !    6 i l o N r H P R o G N o s r sc o N f r R i t o l




                                                                                                                                                         if YES                                       if No




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                                 I ( ) N I R I B I ] I I t )I O T I I FD f C I S I O N
                                                                                     T O C O N f I R MT H A TT H t
                                                                                                                                         PATITNl HAS AN TXIENDTD PROGNOSIS.
                                 I 4 I ] I N I H A \ A P R O G N O SOI SF 5 6 T O N T H SI F] H E
                                 ri Lilts\ Ri)N\ lls NORMATCOllRSt                                                                                              p A T E N TF R o H M t D r c A A r / M E D r c A r D
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                                                                                                                                                     T H A T A P P R O P R I A TAER R A N G E H € N T S
                                                                                                                                         AFIERTNSURING
                                                                                                                                         F O RC O N T I N U I T Y
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                            P r o f e s s i o n aMl a n a g e m e n o
                                                                    t f C a r e+ P a t i e n t& F a m i l yC a r eS e r v i c e s


          Certification & Recertification

           w'HO (*'ill cover this wi.thyou):     Team Manager Menror, pcA or Medical Director


          A hospicepatientis certifiedas terminally ill when heishehas beengiven " a medicalprognosisthat
          his or hcr life e.\pectancy
                                    is six months or less". The initial certificationmust be suppliedby rwo
          physicians,one being the Medical Director of the hospice or a physician member of the
          interdiscipliraryteam and the second being the individual'sauendingphysician. (Pleosesee the
          chaprer on the Clinically Appropriate Paieru.)


         The Medicare hospicebenefit is divided into periods, two of 90 days each, with periodsof 60 days
         durationongoingfrom that time. Medicaid's(Medical's)hospicebenefitnow mirrorsthe Medicare
         benefit in each state. Recertificationtakes place prior ro each benefit period. The hospiceMedical
         Director or Team Physicianis required to recertiry/the patientas terminally ill basedon whether or
         not the patientcontinuesto have a prognosis of six months or less. Unlike inirial ce(ification, on[,
         the hospice physician is required to recertifu the patient, and at the time of each recertification.the
        questionthat must be ansueredremainstle same.

                                     Is the prognosis of the patient 6 months or lesi?

        This is true whetherthepatienthas beenon a hospiceprogram90 days.210 da1's,or longer




        Recertifi cation of Prognosis
        In order to ensurethat recertificationdecisionsare made in a timelr'. efficient manner.and w'ithin the
        4tl hours of due date requiredby'the Federal Regulations,thc follouing proceduralguidelineshave
        beendeveloped

        I The Team Managershould identi$, patientsthat are due for recertificationapprorimatelv
             J weeks priorto the recertificaliondate. The actualrecertificiationncedsto be completedno
             morc than 5 calendar days prior to the end of the certificarionpcriod and no laterthan'2days
             after.

             Recertification
                           of thesepatientsshould be discussedat teammeetinc

            If all membcrsof the team. including the VITAS phvsician, believe tfiat the patient should be
            recertified,then the VITAS physicianuill completethe ph1'sicianrecertificarion
                                                                                         note..




                                                                                                                     VITNS'
       T e a m Ma n a g e rC o mp a ssGu i de                             E x s u R I N C S E n v t c EE F F E c T t v E N E S S " '
  lrrttrn.rl L x. ()rrlr
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                       P ro fe ssi o n aManagem
                                        l       entof Car e - + Patient& FamilyCar e S er v i c es



         lf thcrc is a qucstionrcgardingthe proenosisof the parienl the VITAS ph1'sicianshould plal' an
         actire rolc in recommending           stepsto determinerlhethertheprognosisof the patient
                                   theappropnate
         has changed This ma1'requirediagnosticsrudies,a VITAS phrsician visil and/or a conv'ersation
         rr ith the ancndingphr sician

         .\fter the *alualion is completedand pnor to the recertificationdate, a determinationof patient
         prognosisis made If the patientstill has a prognosisof 6 monthsor less, thel' are recertifiedas
         dcscribedin stepthree.

         If the team believcst}at the patientnorr has an ertended prognosis,the team, after appropriare
                     rvith the patient.the familr',and the anendingphlsician, should arrangeto discharge
         conversations
         the patient with an extendedprognosis,ensuringthu substirutesupportservicesare provided for
         the oatientand familv




      Physician Recertification Note


                                Note is designed
     The PhysicianRecertification              to standardize           that supportspatient
                                                            documentation
     eligibiliryfor the MedicareHospicebenefitat thetimeof re-certification.
                                                                          It is completed
                                                                                        at the time
     the re+ertification processat the teamleveloccurs(usua.lly
                                                              aboutoneweekprior to the end of the
     currentbenehtperiod).The information
                                        required
                                               for completing
                                                            thenoteis available
                                                                              from multiple
                   but not limitedto:
           including,
     sourc€s


     .   PhysicianCertificaion Note
     . AdmissionInitial Assessmeil
                                ID Note
     .   NursingAssessmenl
     .   Psychosocial
                   Assessment
     .   SpiritaalAssessment
     .                         (notes)
         Ongoingnursingassessmcnts
     .   ID CarePlans
     .   Ongoingpsychosocial                 (notes)
                          / spirirualassessments
     r Medicalrecords
     .   Discussion           physician
                  with anending
     .                 visit (whichrequires
         VITAS physician                  separate
                                                documentation)
     .   Requested
                 laboratory
                          or diagnostic
                                     srudies


                                                                                                    VITNS"
     T e a m Ma n a g e rC o mp a ssGu i de                 E r u s u R r N GS e n v r c E E F F E C T I V E N E S S " '
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                                                                                               of Car e- + Patient& Fam ilyCar eSer v i c es
                                                                     P ro fe ssi o n aManagement
                                                                                      l


                                                       (but is not iimitedtol the following:
              The PhysicianRecertification\ote addresses

              .                    Symptoms:
                            Ph-v-sical
                            -)                Pain
                            -+                Shortnessof breath
                           --)               ChestPain
                            -)                NYHA Starus
                            -)                FuncrionalStuus
                            -)               Weight
                           -)                Appetite
                            -)               RecentInfection/ Riskof Infection
                            -)               SkinIntegrity
                           -)                l-evel of Consciousness
                           -)                Other physicalsymptomsor changesunderlyingdiseaseprocess

             .             PsychosocialSymptoms

             .                              supportingterminalillness(frequencyof visits, labs,diagnosticsn:dies)
                           Orherdocumentation


             As a Team Manager,it is importantthat you be awareof the specificprocesses  which must be
                                               process
                     aspartof the recertification
             completed                                as you directlysupervise
                                                                             not only thisprocedurebut
             theTeamPhysician    aswell. It is yourresponsibility
                                                               to seethattheTeamPhysician  takesthe leadin
             facilitatingthis processand completes  thosedutieswhich are a part of his/herrole as the Team
             Physician.

             In working with physicianswho dictatetheir recertitlcation
                                                                      notes,the fbrmat of the VITAS
                                  Notemustbe followed. If a patient'sprognosis
                     Recertifrcation
             Physician                                                       is uncertainafter injtial
             review,a fbllow-upnotedocumentixg          with the MedicalDirector&/or the Certifying
                                             consultation
             Physician(asis requiredon thehandwrinenRecertification
                                                                  Note)musteitherbe wrinenor dictated
                               statement
             with theappropriate         of prognosis
                                                    included
                                                           at thenotesconclusion.


              WHERE:
                   arecopiesof the VITAS Certificationof PrognosisForms,which include
             Anached

             .             Certificationof Prognosis:
                       .                               fbr Determining
                                    How to UseGuidelines             Prognosis:
                                                                             Certificarion
                       .                               for Determining
                                    How to UseGuidelines             Prognosis:
                                                                             Re<ertification
                       .            Somefactorsto considerin Re+ertitication Evaluation
                                                                                                                                             VITNS"
            TeamManagerCompassGuide                                                                   E x s u R r N CS e n v r c eE p T e C T I V E N E S S . "
    lrtt('flrJl L i'Orrl\
    \ . 1l . \ 5 C , ' r r i r . [ ' n t r .|t, t r r r l l ' r r r l r r t I t . r ^
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 /.1\                                                                         P ro fe ssi o n aManagem
                                                                                               l       entof car e - + patient & Fam ilycar e ser v i c es

t9
                     .             Certification of Prognosis Flowcharts:
                               .            AdmissionProcess
                               o            Processfor Re<ertification of a prognosisof < 6 months



                   Vx has reports that help you mangeboth hitiat certification & recertification.
                          Viuls
                   Critical
                   Certification:
                  # 6321                                     Medicaid Patientcerrification Starusby A<Jmit                                                                     Run Daily
                  # 7131                                     MedicarePatientsMissingwrinen Ceniflcation                                                                        Run Daily or ReviewComDass


                  Recertification
                 H 4886                                     ParientRecertification                                                                                            Do Weeklv



                Comp45sAlarms Certification
               Category                                                                                                    Contents
               AnendingMD certificarion                                                                                   r. Admit patient's
                                                                                                                                           Anendingcertification
                                                                                                                          2. PendingpatientAnendingMD Certification


               HospiceMD cerriflcation                                                                                     L Admitpatients
                                                                                                                                         Hospice
                                                                                                                                               MD Ceniflcation

              TeamManagement                                                                                              L AcjmitpatiensHospice
                                                                                                                                               MD certitication


             WINK:
             g  Run one of each of rhe repons               outlined (fl 6321, 7t3l & 4sB6). Reviewtheserepons with
                               your Team Manager Mentor / PCA idewifiing the key
                                                                                     features. Discussthe processfor
                               obtainingthe missinginformaion.


            V                  Reviewwith the MedicatDirecroror PCA the PhysicianRecertifcationNote
                                                                                                                                                                                                discussing
                                                                                                                                                                                                         eachof
                              the areasowlined.

           g                  Disczss with the Medical Director or PCA some of the inherent
                                                                                                      challengeswithin the
                              cenificarion/ recertificationprocessand identifi solutionsro limit them.



                                                                                                                                                                                                             VITNS"
          T e a m M a n a g e rc o m p a s sG u i d e
                                                                                                                                                                      E x s u R r N C S E n v r c EE F F E C T I V E N E S S , '
 l D t (i l l . ) l L \ ' ( ) n l \
 \ l | \ 5 ( r r r r l r r h . r r t t ,.)llr r l I ' r " F r r f t . t r \ \ l . r t ( . n , ) 1 . \ l l r s l r t r r r , \ , r \ r . ( t .
 \ . r , l r t r l r , . r t r r r r r! r . r ' , ' r i l ' . i L r . t r n . r r r l l r , , r r,t. \ l r r , , \ \ r \ r , i l r . 1t1\ , r r r r , \ \ , , , , r
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                                                                       P ro fe ssi o n aManagem
                                                                                        l       entof Car e- - +Patient& Fam ilyCar e Ser v i c es


                                  Spend nme role pkryin.e vith the PCA i Teant Munuger Mentctr the certification and
                                  recerttficarionprocessand the discussionswhich are a pan ctf theseprocessesincluQing
                                  appropiae admissions,r€t,ocations,and discharges
                                                                                 for extendedprognosis.

                                  Ret'iavthreepaierus up for receniJicuionuirh the team. Urilizethe Team Physicianto help
                                  voufacilitue thisprocess. Write up for review a1athe TearnManagerMewor / PCA whether
                                  on not eachpuiea remoinshospiceappropriateor not. Include three examplessuppning
                                  your decisionon eachcase.


                                    Educational Tip: Certificati-on ond Recertification of Terminal Prognosis
                                   It is your responsibility to know regarding Initial Certification that:
                                    .             Verial cenifcaion from the hospicephysician must be obtainedwithin 2 days.
                                   .            Attending physbian ceniftcation is required within 2 days.
                                   .            Recordtfu verbalhospicephysicianorder in the Initial Cenificuian




                                                                                                                                                             VITNS'
           Team ManagerCompassGuide                                                                                                     ErsuRING SenvrcE EFFECTtvENESS"'
  lIt('rn.rl L q,()rrl\'
  \ | I \ S ( ' l r r t r J r ' r t t r . r l. r r r l l r , , r r r r u t . r r \ \ l . r t ( { r ' l l .   \ll rr;it(. rr'\r'r\{'\l
  \,',lrrr'lr,           rlr,rrr rrv','r.lr.,'l,r.r'r,                        r. rtlr"rt         , r nr' '-
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  H o w r o U s e G u r o e t t N E sF o R D e t E n x l N r N c P n o c N o s t s

  F o Rp v L L u e r N G  p A T T E NFToSRR E c E R T I F r c A ol oFNT E R M T NpARLo G N o snr rs 9 0 , l 8 0 , n r u o2 4 0 o r v s
  ( o n r o n e ) F o l L o w r N cA D M r s s r o N ;

 U s eo f N H O G u i d e l r n ei ssn o t o p t i o n o l .

       L     T h e T e a m M a n a g e rs h o u l d i d e n t r f yp a t i e n t st h a t a r e d u e f o r r e c e r t j f i c a t i oanp p r o x r m a t e l y
             3 w e e k sp r i o r t o t h e d a t e o f r e c e r t i f i c a t i o n .

       2.   R e c e r t i f i c a l j o no f t h e s e p a t i e n t ss h o u l d b e d r s c u s s e d
                                                                                                      a t t e a m m e e t i n gT
                                                                                                                               . he NHO Guidelines
            s h o u l d b e u s e d t o h e l p i d e n t r f yv a r i o u s c r i t e r i a t h a t c o n f i r m t h a t t h e p a t r e n t ' sp r o g n o s i sc o n -
            t i n u e s t o b e < 5 m o n t h s i f t h e d i s e a s er u n s i t s n o r m a l c o u r s e .


            I n a d d i t i o n t o t h e o b j e c t i v e i n d i c a t o r s o f p r o g n o s i sa s d e f i n e d b y t h e N H O G u i d e l i n e s ,
            ^-,,-'x^"^-.1
            p S / C n O S o C fIr-a- +C
                                      l ^ -I.o r sIl Ln- a
                                                         +
                                                           I ;r-m
                                                                ^--+
                                                                  p a C Ip r o g n O.S- Ia
                                                                                         -^f,
                                                                                         Sn O ^p- a+ ,l^r^e+ /nf -l-t, t1 a. , m l tC
                                                                                                                                    Ye S r r e rSe g a r O r n at g g r e ; S r vveS .
            p a l l r a t l r ec a r e s h o u i db e c o n s i d e r e di n t h e d e c i s i o n - m a k i npgr o c e s s .


            l f a l l m e m b e r so i t h e t e a m ,i n c l u d i n gt h e V r t a sP h y s i c i a bn e, l i e v et h a t t h e p a t r e n ts h o u l db e r e c e r t r f i e d
                                                                                                                                                                                   t h, e
            V i t a sp h y s i c r asnh o u l d :

            a . d o c u m e n t o n t h e P h y s r c i a nR   ' se c e r t r f i c a t i oN
                                                                                           n o t € t h e r e q u e s t e d, n f o r c n a t r o np .l u s a c y a C d r t r o n a l
                factors, that allow         h i m / h  e  rt o a r r i v e a t t h e c l r n r c a. ;l u d g e m e nt th a t ' . h e p a t i e n tc o n t n u e st o h a v e a
                p r o g n o s i so f < 6 m o n t h si f t h e i l l n e s sr u n s i t s n o r m a lc o u r s e .

            b . l n t l ' e " S : a t ? r e n to f P r o g n o s r s "e c t r o no f t h e P n y s r c r a nR' se c e r t i l l c r t r oNno t e t h e p h y sc ' a ns h c u l c j :

                | . C h e c kt h e s t a t e m e n rt n d r c a t i ntgh a t t h e p a t i e n ti s t o b e r e c e r t r f i e d

               2 . l n t h e b l a n ks p a c en e x t t o t h e w o r d " b e g i n n i n gf 'i 'l,lr n t h e d a t : t n r ! ' , h er e x t b e r e r r tD e r o d , . . I D e gn

                                                                                        v , r I ht h e i a t e a c i - a i l ' s; , ; r : C , r t t e a 3 r r c l ' 3 i e i t a : : s .
               3 . S r g , irr e s ' . a t e r n e natn d d a t e t h e s i g n a l u r e

            c. The not-e srouid be wrrtten, srgnedand dat:C irom 5 da'is ceicre '.c no nno.e t:ar' l c:,s at1e.
                 b e g r n n r nogi t h e n e x t b e n e f i tp e r i o d




l n t e m a lU s e O n l y
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       S o r E r n c r o R s r o c o N s r D E Rt N R E c E R T T F t c A TE
                                                                           t oVNA L U A T T IoNNC L U D E :


       For cancer patients-                     R e c o g n r z et h a t t u m o r g r o w t h r a t e s d i f f e r f r o m p a t i e n t t o p a t i e n t . P a t r e n t s
       w i t h n e o p l a s m sw i t h l o n g e r d o u b l i n gt i m e s w i l l s e e m t o d o b e t t e r t h a n t h o s e w i t h r a p i d d o u b l i n g
       times, yet both remarn appropriate for recertiflcationp
                                                             , rovidingthere is evidenceof tumor pro-
       sression.


       In the recertiflcatrop
                            n r o c e s s d, i a g n o s t r ct e s t s ,s u c h a s t u m o r m a r k e r s X
                                                                                                             , - r a y s ,a n d s c a n s m
                                                                                                                                          , ay prove
      h e l p f u l i n d e t e c t i n gp r o g r e s s i o no f t h e t e r m i n a id i s e a s ep r o c e s s e, s p e c i a l l w
                                                                                                                                     y h e n t h e c l r n i c acl o u r s e
                               . r n c et h e r e s u l t so f t h e s e s t u d i e sw i l l h a v e a d i r e c t r m p a c to n t h e d e c i s i o nw h e t h e r
      a p p e a r ss t a b l e S
      t o r e c e r t r f yt h e p a t r e n t ,t h e p e r f o r m a n c eo f s u c h s t u d i e sa r e v e r y m u c h i n k e e p i n gw i t h t h e p r r n c i -
      o l e s o f o a l l i a t i v em e d i c i n e .


      R e c o g n i z et h a t p a t i e n t s w h o h a v e g o o d s y m p t o m c o n t r o l m a y f e e l b e t t e r a n d s e e m t o i m p r o v e . l f
      t h e u n d e r l y r n gt e r m i n a l i l l n e s ss t i l l e x i s t s ,h o w e v e r ,t h e p r o g n c s r ss h o u l d b e t h e s a m e , a n d t h e
      p a t i e n ts h o u l db e r e c e r t i f i e d .


      P a t i e n ta n d f a m r l yw i s h e s n e e d t o b e c o n s i d e r e dl i t h e p a t r e n t ' st e r m r n a li l l n e s sm a y n o t a p p e a r t o
      b e p r o g r e s s i n gd u e t o g o o d s y m p t o m r n a n a g e m e n at ,n d t h e p a t r e n ta n d f a m r l ys t i l l d e s r r ea p a l l r a -
      r r v e a n n r o ; c h t o c a r e . t h e n t h e D a t r e n ts h o u l d b e r e c e r t i f i e d .


      l l -t h e p a t i e n l ' St e r m r n a li l l n e s sd o e s n o t a p p e a r t o b e p r o g r e s s r n gt n, e a v a r l a b i l r toyf a l t e r n a t i v es u p -
      p o r t s / s t e m s s h o u l d b e p a r t o f t h e d e c i s r o n - m a k i npgr o c e s s l.f r t i s c l e a r t h a t ,w i t h o u t V l T A S ' s u p -
      p o r t , a p a t r e n t ' sc l r n i c a cl o n d r t i o nw o u l d d e t e r o r a t e t o t h e p o i n t w h e r e t h e p a t i e n t w i l l b e q u i c k l y
     e l r q r b l ef o r r e a d r n i s s r otno V I T A S ,t h e s e c i r c u m s t e n c essh c u l d b e c o n s i d e r e d .


     A t t e n d i n g p h ; r s r c i a nmsa y r e q u e s td r s c h a r g e[ o r e x t e n d e dp r o g n o s r se, s p e c i a l l w
                                                                                                                                       y h e n t h e p a t r e n th a s
     a l r e a c Tb e e n o n t h e h o s p i c e p r o g r a m f o r s e v e r - aml o n t h s .T h r s r s o f t e n d u e t o t h e m i s c o n c e p t i o n
     t h a t a f t e r s u r v l z r n gs r x m o n t h s ,t h e p a t i e n t r s ,b 7 d e f i n i t r o nn, o l o n g e r h o s p i c ee l i g r b l el .f t h e p a t r e n t ,
     a[ter recertrilcairoe               n v a l u a t i o ni,s d e t e r m i n e dt o s t i l l h a v e a p r o g n o s r so f < 6 m o n t h s i f t h e d i s e a s e
     r u n s r t s n o r m a l c o u r s e ,t h e o a t i e n t s h o u l d b e r e c e r t i f l e da n d r e m a r no n t h e V l T A S p r o g r a m ,a n d t h e
     V I T A S p h y s r c r a snh o u l d d r s c u s st h r s w i t h t h c : t t o n d i n o n h v c i r l 3 1 .




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     )     l f t n e r e r s a , . yq u e s t i o n r e g a r d i n gt h e p r o g n o s r so i t h e p a t r e n t t, h e V I T A S p h y s r c i a nM U S T :
                  'v
            a.         S i t i € D a t r e npt f l o r ' L o ; ' r a k ; n ga f i n a ld e t e r m r n a t r oann d a p p r o p r r a t e ldyo c u m e n tt h e v r s r t .

            b . A f t e r t h e v i s i t ,s p e a k w i t h t h e a t t e n d i n gp h y s i c i a ne, s p e c i a l l yw h e n t h e a t t e n d i n gp h y s i c i a ni s
                a c t r v e l yi n v o l v e d .

            c . C o n s i d e ro r d e r i n ga n y l a b o r a t o r yo r r a d i o l o g i cs t u d i e se, s p e c i a l l tyh o s e s u g g e s t e db y t h e N H O
                G u r d e ' r r e st ,h a t w o u l d b e h e l p f u li n c o n f i r m i n gt h e p r o g n o s , s


     5 . A f t e r t h e e v a l u a t i o ni n s t e p # 5 i s c o m p l e t e da n d p r i o r t o t h e r e c e r t r f i c a t i o dn a t e ,i f a l l i n v o l v e d
           c o n c u r t h a t t h e p a t i e n t h a s a p r o g n o s r so f < 6 m o n t h s i f t h e d r s e a s er u n s i t s n o r m a l c o u r s e ,t h e
           p a t i e n ti s t o b e r e c e r t i f l e da s d e s c r i b e dr n s t e p # 4 .



          After the evaluationis completed in step #5 and prior to the recertrficationdate, rf rt is strllunclearas to
          w h e l h e r t h e p a t i e n th a s a p r o g n o s i so [ < 5 m o n t h s :

          a . d o c u m e n to n t h e P h y s r c r a nR' se c e r t r f i c a t ' oNno t e t h e r e q u e > t e dr n f o r m a t i o np,l u s a n y a d d i t i o n a l
                      t h a t h a s b e e n o b t a i n e dt h a t w o u l d b e u s e f u li n h e l p r n gt o d e t e r m i n et h e p a t i e n t ' sp r o g n o s r s .
            informatron

          b. rn the "Statementof Prognosrs"                      RecertificationNote:
                                          sectronof the Physician's

                    C h e c kt n e s t a t e m e n tr n d , c a t i ntgh a t t h e p a t r e n t ' p
                                                                                                   s r o g n o s . ss L n c e r t a l n .

                    S , g ot f e s t a t e m e n ta n d C a t : t h e s , g r a t u r ew r t l ' t h e d a t e a c i ' - al 7 s i g n e di,n l h e a p n r o P n a t es p a c e s .


     3    The \r ',:s physicran
                              and the Team Managershould consui'..,vrthtne Yedrcal Director
          (as "veilas oirec members o[ the Senrorr\3nager:eni team) rega.d,ngthe Patre|lt'sprognosis.

          a . T h er e s u l t sc f t h e c o n s u l t a t r ow                        l i r e c t o r - s h o u lboe d o c u m e n t e di n t h e a p p r o p r i a t e
                                                               n i t h t h e M e C , c aD
          s e c t i o no f t r e e h y s r c i a nR
                                                  ' se c e r t r f i c a t r cNnc i e .


          b l f : i - e p a t e - , ' . sD r o g n o s rnsa sb e . n d e t : r n " r n e C ' . co e S 5 n ' , c n ' , r si i,' e V r t a sp h y s r c r asnh o u l d :
                i 3 e s u r et o r n c l u d er n . . i r eM e d r c a D l r r e c t c rc c n s u i 'n. o t e a i ' , va C d r t r o n ar nl f o r m a t i o nt h a t c o n t r r b u t e C
                    r : o1 ' . i ed e a r s r o tno c o n n . m t h a t i n e p a l r e n th a sa p r o g n o s , cs f < 5 m o n t h s r f t h e r l l n e s rsu n s i ' . s
                    nor;:^:,1
                            aourse.

                 2 C n e : < 1 : h es t a t e m e . i r n d , c a i r ntgn a i t h e D a i e . i .r s i o D e r e c : r i r t r e dt h a t a p p e a r su n d e r t h e s e c t i o n
                   ''Coni-l'Latron
                                         w ' r t ht h e i " l e d r c aDl irector:"

                                                      "beg'r,n1.g",
               3. in il.e biaokspacenexi tc the v,"-ord          tll rn t-heCat: that the nex-tbenefii perrod
                   w r l lb e g r n .

                                                                                  e r t h t h e d a t e a c t u a l l ys i g n e di,n t h e a p p r o p r i a t es p a c e s .
             4 . S r g nt h e s t a t e m e n ta n d d a t e t h e s r g n a t u rw
          c.The note shouldbe completed,srgnedand cat:d from 5 daysbefore to no more then 2 daysafter
          t h e D e g ' n n r ^o: [ t h e n e x t b e n e f i tp e . o d




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                          prognosis
            lf the patrent's     rsstilluncertarn,        mustbe obtained
                                                consultation            wrthDr:JRWrlliams
                                                                                       or Dr:3arry
            Kinzbrunner
                     at the coroorateoftice.

           a.Theresultsof the consultation
                                        with DrWilliamsor Dr:Kinzbrunner                in the
                                                                      shouldbe documented
             appropriatesectionof the Physicran's
                                              Recertification
                                                           Note.

                             prognosis
           b. lf the palient's       hasbeendetermined to be < 6 months,be sureto includein the consultation
             note anvaddrtional  information
                                           thatcontributed             to confirmthat the oatrenthasa
                                                         to the decision                                                                     L|   L   Pq   LrL'



              p r o g n o s r cs f < 5 m o n t h sr f t h e r l l n e srsu n si t s n o r m a lc o u r s e . T h e V i t apsh y s i c i a snh o u l dr e c e r t i f yt h e
             Datientas outlinedin Bb above.

       10. lf the patient'sprognosisrsdeterminedto be > 5 months:

           a. Be sure to includern the MedicalDirectorsconsultationnote the reasonsfor concludingthat the Dat;eni
              has an extended prognosis,
           b. rn the "Statementof Prognosrs"
                                          sectionof the Physician's            Note, the physrcian
                                                                 Recertificatron                 should:
                 I . Check the statementindicatrng
                                                 that the patrenthas an extendedprognosis
                 2. Srgnthe statementand date the signaturewith the date actuallysrgned,in the appropnatespaces
          c. Dischargefrom the hospiceprogram,after ensuringthat appropriatedischargeplanningand arrangementsfor
          alternativecare are completedprior to discharge.




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